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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 21-CR-731 (RC)
                                             :
LAWRENCE LIGAS,                              :
                                             :
                      Defendant.             :


                                  NOTICE OF APPEARANCE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to

Assistant United States Attorney Benet J. Kearney, who may be contacted by telephone on (212)

637 2260 or e-mail at Benet.Kearney@usdoj.gov. This is notice of her appearance in this matter

on behalf of the United States.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                                     /s/ Benet J. Kearney
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